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                     UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF NEW YORK



THE NEW YORK TIMES COMPANY
                 Plaintiff,

                    v.
MICROSOFT CORPORATION, OPENAI, INC.,
OPENAI LP, OPENAI GP, LLC, OPENAI, LLC,         Civil Action No. 1:23-cv-11195-SHS
OPENAI OPCO LLC, OPENAI GLOBAL LLC,
OAI CORPORATION, LLC, and OPENAI
HOLDINGS, LLC,

                 Defendants.




                              Exhibits G76-G117
                 (nyt-1999-2000-Part6 to nyt-2001-2002-Part25)
            The New York Times Company’s First Amended Complaint


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